Case 1:18-Cr-00834-PAE Document 40 Filed 12/11/18 Page 1 of 12

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA : PROTECTIVE ORDER
l v, _
84 18 Cr. 834 (PAE)
JAMEL JONES, et al.
Defendants.
_________________-.-'x

HONORABLE PAUL A. ENGELMAYER, DiStriCt Judge:

WHEREAS the Government intends to produce to JAMEL JONES,
ROLAND MARTIN, KIFANO JORDAN, JENSEL BUTLER, DANIEL HERNANDEZ,
FUGUAN LOVICK, and FAHEEM WALTER the defendants in the above-
captioned matter, certain discovery materials that (i) affects
the privacy and confidentiality of individuals; (ii) would
impede, if prematurely disclosed, the Government’s ongoing
investigation of uncharged individuals; (iii) would. risk
prejudicial pretrial publicity if publicly disseminated; and
(iv) is not authorized to be disclosed to the public or
disclosed beyond that which is necessary for the defense of this
action; and

WHEREAS pursuant to Rule 16(d) (1) and Title 18, United
States Code, Section 3771, the Government desires to protect the
confidentiality of the above-referenced materials, and for good

cause shown;

Case 1:18-Cr-00834-PAE Document 40 Filed 12/11/18 Page 2 of 12

IT IS HEREBY ORDERED:

l. Discovery materials produced by the Government to
the defendants, or their counsel, or the coordinating discovery
attorney, that are either (1) designated in whole or in part as
"Confidential" by the Government in emails or communications to
defense counsel, or (2) that include a Bates or other label
stating "Confidential,“ shall be deemed "Confidential Material.”

2. Confidential Material disclosed. to the defendant,
or to the defendant’s attorney, or to the coordinating discovery
attorney,l during the course of proceedings in this action:

(a) shall be used by the defendant or his counsel
or the coordinating discovery attorney only for purposes of this

action;

 

1 Emma M Greenwood, the court-appointed Coordinating Discovery
Attorney (CDA), may disclose, make copies of, or reveal the
contents of materials identified in paragraphs 2 and 3 to
defense counsel who have entered appearances in this matter and
to her employees who are assisting in the preparation and
dissemination of such materials, and to third party vendors she
may deem necessary to retain to process the discovery she
receives, all in furtherance of fulfilling her duties and
obligations under this Court’s November 27, 2018 Order
appointing Ms. Greenwood as CDA. Ms. Greenwood shall serve this
Protective Order upon any such attorney, employee or vendor,
instructing them that they are bound by its terms, and she shall
instruct such other persons that further disclosure is
prohibited.

Case 1:18-Cr-00834-PAE Document 40 Filed 12/11/18 Page 3 of 12

(b) shall be kept in the sole possession of the
defendant’s counsel or the defendant or the coordinating
discovery attorney;

(c) shall not be copied or otherwise recorded by
the defendant except at the direction of defendant’s counsel;

(d) shall not be disclosed in any fornl by the
defendant or his counsel except as set forth in paragraph 2(e)
below;

(e) may be disclosed only by the defendant’s
counsel and only to the following persons (hereinafter
"Designated Persons"):

(i) secretarial, clerical, paralegal,
investigative, and student personnel
employed full-time or part-time by the
defendant’s counsel;

(ii) independent expert witnesses,
investigators, or consultants retained by
the defendant or on his behalf in connection
with this action;

(iii) potential witnesses, but only insofar
as defense counsel may show the Confidential

Information to potential witnesses without

Case 1:18-Cr-00834-PAE Document 40 Filed 12/11/18 Page 4 of 12

these individuals retaining copies of the

Confidential Information; and

(iv) such other persons as hereafter may be

authorized by the Court upon a motion by the

defendant;

(f) shall be either (i) returned to the

Government following the conclusion of this case (including all
appeals, petitions for habeas corpus, or other collateral relief
proceedings or the time periods in which such relief can be
sought, whichever is longer), together with any and all copies
thereof, or (ii) destroyed together with any and all copies
thereof, with defendant’s counsel verifying in writing to the
Government that such destruction has taken place.

3. Discovery materials produced by the Government to
the defendants or their counsel that are either (1) designated
in whole or in part as "Sensitive" by the Government in emails
or communications to defense counsel, or (2) that include a
Bates or other label stating "Sensitive," shall be deemed
"Sensitive Material.”

4. Sensitive Material disclosed to the defendant, or
to the defendant’s attorney, or the coordinating discovery
attorney, during the course of proceedings in this action, shall

be subject to the conditions applicable to Confidential

Case 1:18-Cr-00834-PAE Document 40 Filed 12/11/18 Page 5 of 12

Material, with the excpetion of paragraph 2(b) above. Sensitive 8
Material may be shown to the defendant, but may not be
maintained in the defendant’s possession.
5. The defendant and his counsel shall provide a
copy of this Order to Designated Persons to whom Confidential
Material is disclosed pursuant to paragraph 2(e). Designated
Persons shall be subject to the terms of this Order.
6. The provisions of this Order shall not be
construed as preventing the disclosure of any information in any
motion, hearing, trial, or sentencing proceeding held in this
action, or to any judge or magistrate of this Court for purposes
of this action.
7. This Order may be signed in counterparts and
transmitted by facsimile and/or electronic copy, each of which l
counterparts will be deemed to be an original and which taken

together will constitute the Order.

AGREED AND CONSENTED TO:

GEOFFREY S. BERMAN
WITED STATES ATTORNEY

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A@ichael D Longyear / Jacob Warren
Assistant United States Attorneys

Case 1:18-Cr-00834-PAE Document 40 Filed 12/11/18 Page 6 of 12

SO ORDERED:

Dawh Cardi, Esq.
Counsel for Jamel Jones

 

Michael Schachter, Esq.
Counsel for Roland Martin

 

Scott Leemon, Esq.
Counsel for Kifano Jordan

 

Sean Maher, Esq.
Counsel for Jensel Butler

 

Lance Lazzaro, Esq./Dawn Florio, Esq.
Counsel for Daniel Hernandez

 

Jeffrey Pittell, Esq.
Counsel for Fuguan Lovick

 

Edward Sapone, Esq.
Counsel for Faheem Walter

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HONORABLE PAUL A. EWGELMAYER
UNITED sTATES DISTRICT JUDGE

Case 1:18-Cr-00834-PAE Document 40 Filed 12/11/18 Page 7 of 12

SO ORDERED:

 

Dawn Cardi, Esq.
Coun§el for Jamel Jones

 

Michael Schachter, Esq.
Counsel for Roland Martin

 

Scott Leemon, Esq.
Counsel for Kifano Jordan

 

Sean Maher, Esq.
Counsel for Jensel Butler

 

Lance Lazzaro, Esq./Dawn Florio, Esq.
Counsel for Daniel Hernandez

 

Jeffrey Pittell, Esq.
Counsel for Fuguan Lovick

 

Edward Sapone, Esq.
Counsel for Faheem Walter

 

HONORABLE PAUL A. ENGELMAYER
UNITED STATES DISTRICT JUDGE

SO ORDERED:

 

Case 1:18-Cr-00834-PAE Document 40 Filed 12/11/18 Page 8 of 12

 

Dawn Cardi, Esq.
Counsel for Jamel Jones

 

Michael Schachter, Esq.
for Roland M

     

 

  

Sco t Leemon, sq.
Counsel for Kifano Jordan

 

 

Sean Maher, Esq.
Counsel for Jensel Butler

 

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Counsel for Daniel Hernandez

 

Jeffrey Pittell, Esq.
Counsel for Fuguan Lovick

 

Edward Sapone, Esq.
Counsel for Faheem Walter

 

HONORABLE PAUL A. ENGELMAYER
UNITED STATES DISTRICT JUDGE

Case 1:18-Cr-00834-PAE Document 40 Filed 12/11/18 Page 9 of 12

SO ORDERED:

 

Dawn Cardi, Esq.
Counsel for Jamel Jones

 

Michael Schachter, Esq.
Counsel for Roland Martin

 

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Counsel for Kifano Jordan

§4<; /./

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Counsel for Jensel Butler

 

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Counsel for Daniel Hernandez

 

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Counsel for Fuguan Lovick

 

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Counsel for Faheem Walter

 

HONORABLE PAUL A. ENGELMAYER
UNITED STATES DISTRICT JUDGE

Case 1:18-Cr-00834-PAE Document 40 Filed 12/11/18 Page 10 of 12

SO ORDERED:

 

Dawn Cardi, Esq.
Counsel for Jamel Jones

 

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Counsel for Roland Martin

 

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Counsel for Kifano Jordan

 

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Counsel for Jensel Butler

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Lance La§zaro, Esq./Dawn Florio, Esq.
Counsel for Daniel Hernandez

 

Jeffrey Pittell, Esq.
Counsel for Fuguan Lovick

 

Edward Sapone, Esq.
Counsel for Faheem Walter

 

HONORABLE PAUL A. ENGELMAYER
UNITED STATES DISTRICT JUDGE

Case 1:18-Cr-00834-PAE Document 40 Filed 12/11/18 Page 11 of 12

SO ORDERED:

 

Dawn Cardi, Esq.
Counsel for Jamel Jones

 

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Counsel for Roland Martin

 

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Counsel for Kifano Jordan

 

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Counsel for Jensel Butler

 

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Counsel for Daniel Hernandez

 

Jeffrey Pit el , Esq.
Counsel for Fu_uan Lovick

 

Edward Sapone, Esq.
Counsel for Faheem Walter

 

HONORABLE PAUL A. ENGELMAYER
UNITED STATES DISTRICT JUDGE

Case 1:18-Cr-00834-PAE Document 40 Filed 12/11/18 Page 12 of 12

SO ORDERED:

 

Dawn Cardi, Esq.
Counsel for Jamel Jones

 

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Counsel for Roland Martin

 

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Counsel for Kifano Jordan

 

Sean Maher, Esq.
Counsel for Jensel Butler

 

Lance Lazzaro, Esq./Dawn Florio, Esq.
Counsel for Daniel Hernandez

 

Jeffrey Pittell, Esq.
Counsel for Fuguan Lovick

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Edward Sapone, Esq.
Counsel for Faheem Walter

 

HONORABLE PAUL A. ENGELMAYER
UNITED STATES DISTRICT JUDGE

